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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 ARTURO DeLEON-REYES,                              )
                                                   )
              Plaintiff,                           ) 1:18 Civ. 1028
                                                   )
              v.                                   ) Hon. Steven C. Seeger
                                                   )
 REYNALDO GUEVARA, et al.,                         ) Magistrate Sunil R. Harjani
                                                   )
              Defendants.                          )
                                                   )


 GABRIEL SOLACHE,                                  )
                                                   )
              Plaintiff,                           ) 1:18 Civ. 2312
                                                   )
              v.                                   ) Hon. Steven C. Seeger
                                                   )
 CITY OF CHICAGO, et al.,                          ) Magistrate Sunil R. Harjani
                                                   )
              Defendants.                          )
                                                   )

   DEFENDANT CITY OF CHICAGO’S SUPPLEMENTAL REPLY IN FURTHER
  SUPPORT OF ITS MOTION FOR PROTECTIVE ORDER TO PREVENT UNDUE
  STRAIN ON RESOURCES OF PUBLIC ENTITIES FOR SPECULATIVE MONELL
                           DISCOVERY

       Defendant, City of Chicago, by and through its undersigned attorneys, and for its

Supplemental Reply in further support of its Motion for Protective Order to Prevent Undue Strain

on Resources of Public Entities for Speculative Monell Discovery (“City’s Motion”), states:

                                      INTRODUCTION

       On September 20, 2021, this Court asked Plaintiffs whether exculpatory documents from

the Chicago Police Department (“CPD”) files were suppressed.          See September 20, 2021,

Transcript of Proceedings attached hereto as Ex. A at 27:24-28:2. Plaintiff Reyes’ counsel




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unequivocally stated, “Yes.” Id. at p. 27:23-28:2. Accordingly, this Court asked Plaintiffs’

counsel whether or not those documents would be attached to Plaintiffs’ consolidated response.

When Counsel indicated that including those documents would be more “case specific” than the

consolidated response that was being drafted, this Court ordered Plaintiffs to file a supplemental

response as well, specifically attaching the purportedly withheld documents, concluding that “after

two years, the time is ripe” for the Court to review the evidence and confirm that there were

exculpatory documents withheld.        Id. at 28:15-18.     Not surprisingly, Plaintiffs’ 20-page

Supplemental Response to the City of Chicago’s Motion for a Protective Order (“Supplemental

Response”) does not even attempt to answer the Court’s question until page 9 and then, falsely

states that “21 pages of investigative documents appear in the CPD file but not in the CCPD file,”

Dkt. at p. 9, and then implies an additional eleven pages were missing. As discussed below, the

thirty-two pages of documents Plaintiff identifies in response to this Court’s question as the

supposed evidence to support their Monell theories actually demonstrates why the Court should

grant the City’s motion.

                                          ARGUMENT

  I.   Plaintiffs’ Representations Regarding Missing Documents Are Demonstrably False.

       After almost three years of litigation and being pressed by this Court to provide specific

evidence of Brady materials that were withheld, Plaintiffs identify in Ex. 3 “21 pages of

investigative documents” that they purport “appear in the CPD file, but not in the CCPD file.”

Dkt. 514 at p. 9. In addition, Plaintiffs rely on Ex. 10, which they describe as “eleven pages of

investigative document [sic] in the CPD file that are not accounted for in the discovery receipts as

being turned over to the criminal defense.” Dkt. 514 at p. 12. Thus, according to Plaintiffs, there

are a total of thirty-two (32) pages of “investigative documents” that were withheld. This




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representation is demonstrably false. In fact, of the thirty-two total pages, seventeen pages appear

in the Solache CCPDO 1 file or the CCSAO file or both and, as such, were not withheld by CPD.

These seventeen pages break out as follows.

        First, of the twenty-one (21) pages contained in Ex. 3, eleven (11) pages can be found in

either the CCPDO file or the CCSAO file or both. Specifically,

        -   The letter from the University of Illinois Chicago to the victim, Jacinta Soto, regarding
            an appointment for her son, Santiago Soto (RFC-Solache/Reyes 0138, Ex. 3, p. 10) is
            contained in the CCSAO file at CCSAO 1090. See Ex. B. Moreover, the CCPDO’s
            privilege log lists 35 pages of medical records for Santiago Soto from the Solache
            CCPDO file, which were withheld by the CCPDO. See, CCPDO’s Privilege Log
            attached as Ex. C. Plaintiffs never challenged the privilege assertion.

        -   Medical records for Baby Girl Soto (RFC-Solache/Reyes 199-203, Ex. 3, p. 13-17) are
            contained in the CCSAO file at CCSAO 785-790. See Ex. B. Moreover, the CCPDO’s
            privilege log lists 6 pages of medical records for Baby Girl Soto from the Solache
            CCPDO file, which were withheld by the CCPDO. See, CCPDO’s Privilege Log
            attached as Ex. C. Plaintiffs never challenged the privilege assertion.

        -   Medical records for Adriana Martinez a/k/a Mejia (RFC-Solache/Reyes 208-209 and
            211, Ex. 3, p. 18-19, 21) are contained in the CCSAO file at CCSAO 798-799. See Ex.
            B. Moreover, the CCPDO’s privilege log lists 21 pages of medical records for Adriana
            Martinez from the Solache CCPDO file, which were withheld by the CCPDO. See,
            CCPDO’s Privilege Log attached as Ex. C. Plaintiffs never challenged the privilege
            assertion.

        -   The DCFS Case Reports for kidnapping victims Santiago Soto and Maria Soto (RFC-
            Solache/Reyes 0197-0198, Ex. 3, p. 11-12) are contained in the CCSAO file at CCSAO
            3088-3089. See Ex. B. And, while the DCFS Case Reports are not contained in the
            Solache CCPDO as it exists today, these DCFS Case Reports are listed on the
            Discovery Receipts Plaintiffs rely on for their arguments associated with Ex. 10. See
            Ex. D at p 8 (RFC-Solache/Reyes 3770).

        Second, of the eleven (11) pages in Ex. 10 that Plaintiffs’ claim “do not appear on the

discovery receipts documenting what prosecutors turned over to the criminal defense” six pages




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 To date, the only criminal defense file that has been located has been the CCPDO file for Plaintiff Solache.
While the CCPDO also represented Plaintiff Reyes and Adriana Mejia, their criminal defense files could
not be located by the CCPDO.


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actually do appear on the discovery receipts and, in fact, are contained within the CCPDO

file. Specifically,

        -   Adriana Mejia Arrest Report a/k/a CB Report (RFC-Solache/Reyes 269) appears at pp.
            1, 3, 12, 13 (RFC-Solache/Reyes 3764-65, 3774-75) of the Discovery Receipts. See
            Ex. D. Moreover, Adriana Mejia’s Arrest Report is actually contained in the Solache
            CCPDO file. See Ex. E (RFC-Solache/Reyes 5144).

        -   Arturo DeLeon-Reyes Arrest Report a/k/a CB Report (RFC-Solache/Reyes 270)
            appears at pp. 1, 3, 12, 13 (RFC-Solache/Reyes 3764-65, 3774-75) of the Discovery
            Receipts. See Ex. D. Moreover, Plaintiff Reyes’s Arrest Report is actually contained
            in the Solache CCPDO file. See Ex. E (RFC-Solache/Reyes 5143).

        -   Gabriel Solache Arrest Report a/k/a CB Report (RFC-Solache/Reyes 271) appears at
            pp. 1, 3, 12, 13 (RFC-Solache/Reyes 3764-65, 3774-75) of the Discovery Receipts. See
            Ex. D. Moreover, Plaintiff Solache’s Arrest Report is actually contained in the
            Solache CCPDO file. See Ex. E (RFC-Solache/Reyes 5142).

        -   Rosauro Mejia Arrest Report a/k/a CB Report (RFC-Solache/Reyes 270) appears at p.
            12 (RFC-Solache/Reyes 3774) of the Discovery Receipts. See Ex. D. Moreover,
            Rosauro Mejia’s Arrest Report is actually contained in the Solache CCPDO file. See
            Ex. E (RFC-Solache/Reyes 5141).

        -   LEADS message to Law Enforcement Agencies in Illinois, Indiana, Michigan and
            Wisconsin regarding the missing Soto children (RFC-Solache/Reyes 353) appears at p.
            6 (RFC-Solache/Reyes 3768) of the Discovery Receipts. See Ex. D. Moreover, this
            LEADS message is actually contained in the Solache CCPDO file. See Ex. E (RFC-
            Solache/Reyes 5193, 5208, 5254, 5257, 5259).

        -   LEADS response regarding victim’s car (RFC-Solache/Reyes 397) appears at p. 9
            (RFC-Solache/Reyes 3771) of the Discovery Receipts. See Ex. D. Moreover, this
            LEADS response is also actually contained in the Solache CCPDO file. See Ex. E
            (RFC-Solache/Reyes 3869, 5241, 5256).


        Once the seventeen pages that Plaintiffs misrepresented were withheld are eliminated,

fifteen (15) pages remain for consideration. Of those fifteen (15) pages, the following five (5)

pages can be eliminated because they appear in both exhibits: the Homicide Check List (RFC-

Solache/Reyes 74), the pages that contain the front and backside of the photos of Jorge and

Guadalupe Mejia (as well as the photos of victim Mariano Sotos) (RFC-Solache/Reyes 76-77), the




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page that contains the photos of the victims as well as one of the non-victim Sotos family members

(RFC-Solache/Reyes 78) and the page that contains the information regarding Guadalupe Mejia

(“Guadalupe Note”) (RFC-Solache/Reyes 210). All five (5) appear in both Plaintiffs’ Ex. 3 and

Ex. 10. Once the duplicative pages are eliminated, a total of ten (10) pages remain for discussion,

which are each addressed below.

 II.   Plaintiffs’ Representations Regarding Information Being “Exculpatory” is Nothing
       More than Smoke and Mirrors

       Exculpatory evidence by definition is evidence that has a reasonable probability of

affecting the outcome of the trial. United States v. Hamilton, 107 F.3d 499, 509 (7th Cir. 1997).

Impeachment evidence is defined as evidence used to undermine a witness’s credibility. United

States v. Boswell, 772 F.3d 469, 476 (7th Cir. 2014). The ten pages remaining do not contain either

impeachment or exculpatory information.

           a. The Homicide Check List is an Administrative Document that Contains No
              Investigative Information and is Not Brady Material.

       The Homicide Check List (RFC-Solache/Reyes 74) is a purely administrative document

that contains no investigative information. In fact, Plaintiffs do not discuss the document in any

way. Specifically, they do not argue that it contains any impeachment or exculpatory information.

Despite the fact that this document is of no evidentiary value, Plaintiffs include it in both Ex. 3

and Ex. 10 in effort to create the illusion that Brady material was withheld from them when it was

not. The Homicide Check List does not undermine the City’s Motion, does not justify the Monell

discovery sought by Plaintiffs and certainly “does not put to rest” the City’s arguments as Plaintiffs

claim. Dkt. 514 at 11.

           b. The Guadalupe Note Containing Identifying Information for Witness
              Guadalupe Mejia Appears in Other Reports and is Not Brady Material.




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       The Guadalupe Note is a handwritten note that provides identifying information for

Guadalupe Mejia. It sets forth her name, age, date of birth, address and phone number. For context,

Guadalupe Mejia was Adriana Mejia’s sister-in-law. Adriana and Guadalupe were married to

brothers Jorge and Rosauro Mejia. They all lived in the house on Mozart with Plaintiffs Solache

and Reyes. Importantly, all of the information contained in the Guadalupe Note appears in other

reports contained in the CPD, CCPDO and CCSAO files. See Reports attached as Ex. F. Like the

Homicide Check List, Plaintiffs do not discuss the document in any way, nor do they argue that it

contains any impeachment or exculpatory information. And, as with the Homicide Check List,

despite the fact that this document contains information that appears in other documents and thus

is of no evidentiary value, Plaintiffs include it in both Ex. 3 and Ex. 10 in effort to create the

illusion that Brady material was withheld from them when it was not. The Guadalupe Note does

not undermine the City’s Motion and does not justify the Monell discovery sought by Plaintiffs.

           c. The Polaroid Photographs Are Not Brady Material Because they do Not
              Contain Either Exculpatory or Impeachment Evidence.

       The remaining eight (8) pages contain Polaroid photographs of various witnesses. In

keeping with the strategy employed throughout the Supplemental Response, Plaintiffs attach eight

(8) pages that contain numerous photographs that include not only the witnesses discussed in the

Supplemental Response, but include multiple photographs of the victims. Additionally, with no

explanation at all, Plaintiffs include two pages (RFC-Solache/Reyes 82-83), that contain the front

and backside of a photograph of Plaintiff Reyes with a sandwich in his hand while at Area 5 and a

photograph of baby Maria Soto on the steps of the Church at her baptism (before her parents’

murder and her and her brother’s kidnapping). Again, those two pages are only included to create

the illusion that Brady material was withheld from them when it was not.




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        Focusing now on the six pages, out of a total of thirty-two (32) pages Plaintiffs attached in

their Ex. 3 and Ex. 10, that contain the Polaroid photographs of Guadalupe Mejia (Adriana’s sister-

in-law and Plaintiffs’ housemate), Jorge Mejia (Guadalupe’s husband and Plaintiffs’ housemate)

Rosa Aranda (victim family member) and Felicia Soto (victim family member). To establish that

these four photographs constitute Brady material Plaintiffs have constructed an argument that is

not only flawed at its foundation but then builds upon those flaws to manipulate the meaning and

evidentiary value of the photographs. Once the flaws are revealed, the fallacy in Plaintiffs’

argument is apparent.

        First, the argument is premised on the faulty conclusion that CPD only took Polaroid

photographs of persons who they considered suspects. Plaintiffs cite nothing to support this

foundational proposition because they cannot. Fact discovery is closed and over 70 depositions

have been taken, including the deposition of Phil Cline (the Commander of Area 5 at the time of

this investigation and eventual Superintendent of Police) as well as the lead prosecutor and both

Reyes and Solache’s criminal defense attorneys and not a single question was asked of any witness

about this foundational premise for this fanciful Brady theory. Moreover, this foundational

proposition is further undermined by the fact that there is, in fact, a Polaroid photograph of

Guadalupe Mejia in the impounded evidence from the criminal prosecutions. In fact, Plaintiff

Reyes produced photographs of the original at the outset of this litigation.2 See Ex. G.

        Building upon this irreparably flawed foundational premise, Plaintiffs state that the fact

that Guadalupe was treated as a suspect is of particular importance for Plaintiff Reyes because of

Guadalupe’s criminal trial testimony about a telephone call between Reyes and Adriana that she


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  The impounded photograph appears to be a different pose then either of the two photographs that appear
in Ex. 3, but it is clear that Guadalupe is wearing the same clothing and that all of the photographs were
taken at Area 5. The fact that not all photographs were impounded does not change the fact that the
impounded Polaroid photograph of a witness was taken and was produced.


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testified to that Reyes denies having occurred. Yet, again, despite the importance of this theory to

Plaintiffs’ Monell theories, not a single question was asked of either the lead prosecutor or any of

the defense attorneys about the importance of this evidence. Plaintiffs’ failure to develop any

evidence to support these fanciful theories is all the more surprising since Plaintiffs have been on

notice since at least June 2019, that Defendants were in no uncertain terms challenging Plaintiffs

“street files” Brady claim.

       Plaintiffs next argue, again based upon the irreparably flawed foundation that Polaroids are

only taken of suspects, that the Polaroid photograph of Rosa Aranda is also of “critical

importance.” Dkt. 514 at 10. Plaintiffs then illogically leap from the purported import of the

Polaroid photographs to the purported “blockbuster evidence not previously known.”               Id.

Specifically, Plaintiffs argue that Rosa Aranda’s February 2020 deposition testimony that she

recalled that Jacinta Soto told her she had made a new friend and that her apartment keys had

“gone missing” shortly before the murders is “blockbuster” exculpatory evidence that would have

been made known by the production of the Polaroid photograph of Rosa Aranda. This argument

defies logic and collapses once scrutinized. The theory appears to go something like this: Rosa

Aranda was a suspect because there is a Polaroid photograph; when she was questioned by police,

“she told them everything”; in her February 2020 deposition she recalled Jacinta complaining that

her apartment keys had “gone missing, and that the friend was over at the same time the keys went

missing.” Dkt. 514 at 10-11. Again, Plaintiffs cite no authority for the proposition that Polaroid

photographs are only taken of suspects and have developed no evidence to support that proposition.

Second, based on her deposition testimony that when questioned by police Rosa told them

“everything she could” to help them find the perpetrators, Plaintiffs’ Response implies that Rosa

told police about the new friend and missing keys. However, that point is not established by the




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cited testimony. Moreover, Rosa’s testimony establishes that she did not feel intimidated by

police, nor was she worried that she was being accused of any crime. See, Rosa Aranda’s

Deposition Testimony attached as Ex. H at p. 61:1-6. Thus, even if this was the “blockbuster”

exculpatory evidence Plaintiffs make it out to be, there is no testimony to establish that it was

information made known to police. 3 Beyond that, as with the foundational premise for this fanciful

theory, Plaintiffs did not ask a single question of the trial prosecutor or any of the three criminal

defense attorneys who were deposed in this case about this theory. And, every single one of these

depositions took place after Rosa’s February 2020 deposition.

        Without much scrutiny, Plaintiffs’ theory collapses. The “blockbuster” evidence is nothing

of the sort and even if it had any evidentiary value the Polaroid photographs do not constitute

Brady material that would justify the Monell discovery being pursued. 4

III.    Plaintiffs’ Arguments that the Police Failed to Memorialize Certain Information Does
        Not Support the Burden of the Monell Discovery Being Sought.

        Plaintiffs spend a majority of their Supplemental Response arguing that Defendant Officers

failed to memorialize certain information that was learned during their criminal investigation. In

fact, the Supplemental Response spends more time discussing this purported evidence then it does

discussing the documents purportedly not contained in the CCPDO files (the specific question this

Court directed Plaintiffs to address in their Supplemental Response). Without addressing whether,




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  This theory also suffers from the fallacy that the new “friend” was Adriana Mejia and somehow Adriana
Mejia was able to sneak into this extremely small apartment while Mr. and Mrs. Soto slept and was
somehow able to overpower both of them by herself and inflict over thirty stab wounds on Mr. Soto and
over twenty stab wounds on Mrs. Soto without any of the neighbors in the apartment building hearing her.
Notably, no questions were asked of the trial prosecutor or the criminal defense attorneys about this fanciful
theory either.
4
    Plaintiffs’ Response states that Jorge Mejia and Felicia Soto’s Polaroid photographs are also “critical
exculpatory and impeachment evidence,” Dkt. at 9, but make NO arguments to support that proposition.
Those arguments are waived. See generally, Bonte v. U.S. Bank., 624 F.3d 461, 466 (7th Cir. 2010)(“Failure
to respond to an argument [] – as the [plaintiffs] have done here-results in waiver.”)


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in fact, the information Plaintiffs identify should have been memorialized, these arguments either

misconstrue the purpose of the Supplemental Response or are again designed to create the illusion

that Brady documents were created and withheld. In fact, when confronted with the same

argument in the Rodriguez and Bouto matters, Magistrate Judge Cox remarked how she was “not

sure how it really advances [the] argument with respect to [CCPDO] files[]” because it was “a

whole different kind of allegation.” See, September 22, 2021 Transcript of Proceedings in

Rodriguez v. Guevara, et. al., N.D. Ill. 18-CV-07951 and Bouto v. Guevara, et. al., N.D. Ill. 19-

CV-02441 (Hearing on the City’s Motion) attached hereto as Ex. I at p. 10:5-12; 15:7. Specifically,

        THE COURT: … I mean, have you been able to establish in either the Bouto case or
        the Rodriguez case that there was a Brady violation with respect to them?

        MR. AINSWORTH: In, for example, in the Rodriguez case, there is material, we
        have a witness who told information to the officers at the scene. That information
        was never produced in any report to Mr. Rodriguez, and so …

        THE COURT: And that is in the Chicago police file?

        MR. AINSWORTH: It’s not in the Chicago police files.

        THE COURT: Hmm, okay. So I’m not sure how that really advances your argument
        with respect to these files.

        MR. AINSWORTH: Well, that’s information that ---

        THE COURT: Yeah, that shows a witness may have said something to the police
        that’s not in the police file. Okay.

Id. at p. 10:5-16.

        In short, if the information that is “missing” is not in the police files in the first instance,

then it makes no difference whether it is in the other files, making the entire exercise unnecessary

and not proportional to the needs of these cases.




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                                         CONCLUSION

       Three years of discovery and voluminous briefing and Plaintiffs cannot not rise to the

occasion and answer this Court’s simple and direct question. While this Court has expended a

great effort to try and lessen the burden of Monell discovery, it continues to be a labyrinth of

discovery that is being pursued without any inkling as to whether these files have any relevant

information. Far from preventing the discovery, the City seeks to resolve the motions for summary

judgment in order to establish what, if any, constitutional violations may have occurred in order to

streamline the potential Monell discovery.

       WHEREFORE, Defendant City of Chicago respectfully requests this Honorable Court

grant its Motion for Protective Order to Prevent Undue Strain on Resources of Public entities for

Speculative Monell Discovery and for any other relief that this Court deems just and reasonable.

 Dated: October 19, 2021                             Respectfully submitted,

                                                     CELIA MEZA
                                                     Corporation Counsel of the City of Chicago

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